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                                  UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

BRUCE DOUCETTE,

           Plaintiff,

v.                                             Civil Action No.: 6:18-cv-00607-PGB-KRS

REGIONAL ACCEPTANCE
CORPORATION,

      Defendant.
__________________________________/

       JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

           COME         now   Plaintiff,   BRUCE   DOUCETTE     and   Defendant,    REGIONAL

ACCEPTANCE CORPORATION, by and through their respective counsel, in the above-titled

action and represent to the Court that this matter regarding Plaintiff’s claims against Defendant

has been settled amicably, and that they request entry of a Final Order of Dismissal with

Prejudice in the matter, with each party to bear its own costs and attorneys’ fees except as

provided in the parties’ Agreement of Settlement and Release.

Dated:       December 12, 2018                       Respectfully submitted,


BRUCE DOUCETTE                                       REGIONAL ACCEPTANCE
                                                     CORPORATION

/s/ John C. Distasio                                 By: /s/ John S. Gibbs III
John C. Distasio, Esquire                            John S. Gibbs III
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 12th day of December, 2018, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy of which was served via electronic mail to all parties of record.


                                                     /s/ John C. Distasio
                                                     John C. Distasio, Esquire
                                                     Florida Bar No.: 096328




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